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 5                               UNITED STATES DISTRICT COURT
 6
                                WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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 8
        UNITED STATES OF AMERICA,                           CASE NO. 2:23-cr-00142-TL
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                               Plaintiff,
                  v.
                                                            ORDER REQUESTING
10                                                          SUPPLEMENTAL BRIEFING
11      KEITH LAMONTE RUSSELL,

                               Defendant.
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14          This matter is before the Court on Defendant Keith Lamonte Russell’s Motion to

15   Suppress Evidence and for Franks Hearing. Dkt. No. 35. A pretrial conference and hearing on

16   the motion is scheduled for September 5, 2024. Dkt. No. 54.

17          To assist its evaluation of the motion, the Court DIRECTS each Party to file, by August 29,

18   2024, a supplemental brief on the issue of whether police had probable cause to arrest

19   Mr. Russell for marijuana DUI. Briefs SHALL NOT exceed five (5) pages. Response briefs are not

20   permitted.

21          Dated this 6th day of August 2024.

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23
                                                         A
                                                         Tana Lin
                                                         United States District Judge
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     ORDER REQUESTING SUPPLEMENTAL BRIEFING - 1
